
99 N.Y.2d 606 (2003)
DANIEL J. O'CALLAGHAN, Appellant,
v.
STEPFAMILY FOUNDATION, INC., et al., Respondents, et al., Defendants.
Court of Appeals of the State of New York.
Submitted December 30, 2002.
Decided February 20, 2003.
Motion, insofar as it seeks leave to appeal from so much of the Appellate Division order as dismissed the complaint as asserted against Stepfamily Foundation, Inc. and Jeanette Lofas, denied; motion for leave to appeal otherwise dismissed upon the ground that the remaining part of the Appellate Division order does not finally determine the action within the meaning of the Constitution.
